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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                                  www.flmb.uscourts.gov


In Re:                                                         Case No. 8:18-bk-06958-CPM
                                                               Chapter 7
Carisa Hines,

      Debtor(s).
__________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY


                             NOTICE OF OPPORTUNITY TO
                          OBJECT AND REQUEST FOR HEARING

             Pursuant to Local Rule 2002-4, the Court will consider the relief
            requested in this paper without further notice or hearing unless a party
            in interest files a response within 21 days from the date set forth on the
            attached proof of service, plus an additional three days for service if any
            party was served by U.S. Mail.

             If you object to the relief requested in this paper, you must file a
            response with the Clerk of the Court at 810 N. Florida Ave., Suite 555,
            Tampa, FL 33602 and serve a copy on the movant’s attorney, Jacob
            Bair, Esq., 301 W. Platt St, Tampa, FL 33606, and any other appropriate
            persons within the time allowed. If you file and serve a response within
            the time permitted, the Court will either schedule and notify you of a
            hearing or consider the response and grant or deny the relief requested
            without a hearing.

             If you do not file a response within the time permitted, the Court will
            consider that you do not oppose the relief requested in the paper, will
            proceed to consider the paper without further notice or hearing, and may
            grant the relief requested.


         Creditor Cobblestone Landing Townhomes Condominium Association, Inc. (the

“Association”), by and through the undersigned attorney, hereby moves this Court to grant relief

from Debtor's automatic stay pursuant to 11 USC § 362(a)(1) and in support thereof states as

follows:
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       1.       The Debtor owns a piece of real property at 5385 Quarry Rock Rd Lakeland, FL

(the “Property”). The Property is subject to the terms of the Governing Documents of the

Association as recorded in the Official Records of Polk County, Florida (the “Declaration”).

       2.       Pursuant to the Declaration and Florida Statutes, the Association may levy

monthly assessments for maintenance of the Property and the Association and such levies

constitute a lien on the Property.

       3.       The Association is a secured creditor within the definition in the bankruptcy code

and the debt owed to the Association is a secured debt.

       4.       Due to the Debtor’s failure to make required assessment payments, the

Association filed a claim of lien and, subsequently, a foreclosure case – Pasco County Case No.

2014CA-004063 (the “Foreclosure Case”).

       5.       The Association received a final judgment in the Foreclosure Case on July 23,

2018 in the amount of $31,355.64. The judgment included a foreclosure sale date of August 27,

2018. (Exhibit A attached.)

       6.       The instant bankruptcy case was filed on August 20, 2018.

       7.       The Debtor has indicated in her filings that she intends to enter into a

reaffirmation agreement on the debt owed to the Association.

       8.       Because of the nature of the debt owed to the Association, a reaffirmation

agreement is not available or feasible.

       9.       The Debtor has the option to redeem the property from the foreclosure judgment

of the Association by paying the judgment amount and beginning to make ongoing monthly

assessment payments.

       10.      The Association is seeking to enforce only its available in rem remedies against

the property.
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       11.     The Association seeks attorney’s fees of $250.00 plus filing costs for the

preparation and filing of this Motion and additional fees if the Motion is set for hearing.

       WHEREFORE, the Association respectfully requests this Honorable Court enter an

Order Grating relief from Debtor's automatic stay pursuant to 11 USCA §§ 362(d)(1) to allow

the Association to seek in rem remedies against the Property, for reasonable attorney’s fees and

costs, and for any other relief this court deems just and proper or – alternatively – that this Court

set the foregoing for hearing as appropriate.

                                 CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a copy of the foregoing has been furnished via
U.S. Mail and/or Email where indicated to:

        Shelley K. Hogue, Esq.
        Suncoast Law, LLC
        150 North Orange Avenue, Suite 414C
        Orlando, FL 32801
        shogue@suncoast.law

and by U.S. Mail to the following:

       Carolyn R. Chaney
       Trustee
       Post Office Box 530248
       St. Petersburg, FL 33747

       U.S. Trustee
       Office of U.S. Trustee – TPA 7/13
       Timberlake Annex, Suite 1200
       501 E. Polk Street
       Tampa, FL 33602




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On this 22nd day of August, 2018.




                                    _/s/ Jacob Bair_______________
                                    Jacob Bair , Esq.
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                                    Primary: jbair@blawgroup.com
                                    Secondary: Service@BLawGroup.com
                                    Business Law Group, P.A.
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                                    Attorney for: Creditor, Cobblestone Landing
                                    Townhomes




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